
Daniels, J.
This proceeding was commenced by petition in January, 1872, and the petitioner died in December, 1876. Proof was taken in it by the examination of a son of the petitioner, as a witness, in 1885, but no revival of the proceeding had then taken place.
The first step for the revival of the proceeding was the . service of a notice of motion in February, 1888, and no excuse whatever has been given for this long delay of upwards of ten years, on the part of the applicants, and that was sufficient to justify the court in the order which was made denying the application.
For that, and the additional reason given in the Case of Marshall O. Roberts (24 N. Y. State Rep., 993), the order should be affirmed, with ten dollars costs and also the disbursements.
Van Brunt, Oh. J., and Brady, J., concur.
